             Case:20-01947-jwb         Doc #:445 Filed: 03/05/2021         Page 1 of 2




                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN



 In re                                                 Chapter 11

 BARFLY VENTURES, LLC., et al.1,                       Case No. 20-01947
                                                       Hon. James W. Boyd
                                                       (Jointly Administered)

                         Debtors.


                                    CERTIFICATE OF SERVICE

         I hereby certify that on March 5, 2021 I filed (i) the Final Application of Sugar Felsenthal

Grais & Helsinger, LLP for Compensation & Reimbursement of Expenses as Counsel to the

Official Committee of Unsecured Creditors, (ii) the Final Application of Jaffe Raitt Heuer &

Weiss, P.C. for Compensation & Reimbursement of Expenses as Counsel to the Official Committee

of Unsecured Creditors, and (iii) the Final Application of Amherst Consulting, LLC for

Compensation & Reimbursement of Expenses as Financial Advisor to the Official Committee of

Unsecured Creditors (collectively, the “Fee Applications”) with the Clerk of the Court for the




1 The Debtors are: Barfly Ventures, LLC, (8379), Barfly Management, LLC (6274), 9 Volt, LLC
(d/b/a HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella's Lounge)(3684), GRBC Holdings, LLC,
(d/b/a Grand Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East
Lansing)(5334), HopCat-Ann Arbor, LLC (5229), HopCat-Chicago LLC (7552), HopCat-
Concessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat- GR Beltline, LLC (9149),
HopCat-Holland, LLC (7132), HopCat Indianapolis, LLC (d/b/a HopCat-Broad Ripple)(7970),
HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat-KC, LLC and
TikiCat)(6242), HopCat Lexington, LLC (6748), HopCat-Lincoln, LLC (2999), HopCat-
Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat- Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat- Royal Oak, LLC (1935), HopCat-St. Louis, LLC
(6994), Luck of the Irish, LLC (d/b/a The Waldron Public House LLC and McFadden's Restaurant
Saloon) (4255).



5163418.v1
             Case:20-01947-jwb         Doc #:445 Filed: 03/05/2021            Page 2 of 2




United States Bankruptcy Court for the Western District of Michigan using the CM/ECF System,

which sent notification of such filing to all attorneys and parties of record registered electronically.

         I further certify that I served the Fee Applications by electronic mail, on March 5, 2021,

on: (i) BarFly Ventures, LLC, c/o Mark A. Sellers, III, mark@barflyventures.com; (ii) Pachulski

Stang Ziehl & Jones LLP (Attn. John Lucas), jlucas@pszjlaw.com; (iii) Warner Norcross + Judd

LLP (Attn. Elisabeth M. Von Eitzen), evoneitzen@wnj.com; (iv) the United States Trustee (Attn.

Michael Maggio), michael.v.maggio@usdoj.gov; (v) Rayman & Knight (Attn: Steve Rayman),

slr@raymanknight.com;       and    (vi)   Paul    Hastings    LLP    (Attn:    Nathan    S.   Gimpel),

nathangimpel@paulhastings.com.

                                                 Respectfully submitted by,

Dated: March 5, 2021                             JAFFE RAIT HEUER & WEISS, P.C.

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                                                 -and-

                                                 SUGAR FELSENTHAL GRAIS &
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                                                 Counsel for the Official Committee of Unsecured
                                                 Creditors of Barfly Ventures, LLC




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